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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SHIRA PERLMUTTER,

       Plaintiff,
                                                     Case No. 25-cv-1659
 v.

 TODD BLANCHE et al.,

       Defendants.



                      PLAINTIFF SHIRA PERLMUTTER’S MOTION
                      FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure and Local Civil Rule 65.1,

Plaintiff Shira Perlmutter, by undersigned counsel, respectfully moves for the immediate

issuance of a temporary restraining order (TRO) enjoining Defendants from unlawfully

attempting to remove Ms. Perlmutter from her position as Register of Copyrights and Director of

the U.S. Copyright Office. The precise contours of the order that Plaintiff seeks are provided in

the proposed order attached to this Motion.

       Emergency relief is necessary due to the exigency of the circumstances created by

Defendants’ unlawful conduct and the irreparable injuries that the requested temporary

restraining order is intended to prevent. Plaintiff respectfully requests that the Court dispense

with the security referenced in Federal Rule of Civil Procedure 65(c), for the reasons stated in its

memorandum in support of this Motion. Plaintiff respectfully requests a prompt hearing on this

Motion.

       The grounds for this Motion are set forth in the attached memorandum of law and its

supporting declaration. A proposed order is attached.



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       Pursuant to Local Rule 65.1(a), at 6:13p.m. on May 22, 2025, counsel for Ms. Perlmutter

emailed Alex Haas, Diane Kelleher, and John Griffiths, Directors of the Federal Programs

Branch of the Department of Justice, to provide a copy of the complaint and, pursuant to Local

Civil Rule 65.1(a), to provide actual notice that Ms. Perlmutter intended to file a motion for

temporary restraining order shortly. Counsel for Ms. Perlmutter provided the motion and

accompanying brief, declaration, and proposed order to Mr. Haas, Ms. Kelleher, and Mr.

Griffiths before completing this electronic filing.



Dated: May 22, 2025                           Respectfully submitted,


                                              /s/ Allyson R. Scher
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                            Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2025, I filed the foregoing document with the Clerk of

the Court for the U.S. District Court for the District of Columbia using the court’s CM/ECF

system.

       I further certify that a copy of the foregoing and accompanying memorandum and

attachments will be deposited with the U.S. Postal Service, for delivery to the below Defendants

by certified mail:

 Todd Blanche                                      Paul Perkins
 Claimed Acting Librarian of Congress              Claimed Acting Register of Copyrights
 Library of Congress                               U.S. Copyright Office
 101 Independence Avenue SE                        101 Independence Avenue SE
 Washington, DC 20559                              Washington, DC 20559


 Sergio Gor                                        Trent Morse
 Director of the White House Presidential          Deputy Director of the White House
 Personnel Office                                  Presidential Personnel Office
 1600 Pennsylvania Avenue NW                       1600 Pennsylvania Avenue NW
 Washington, DC 20500                              Washington, DC 20500

 Executive Office of the President                 Donald J. Trump
 1600 Pennsylvania Avenue NW                       President of the United States
 Washington, DC 20500                              1600 Pennsylvania Avenue NW
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